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     CITY OF MERCED and
 7   MERCED POLICE OFFICER JEFFREY HORN
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 9
10                                                        UNITED STATES DISTRICT COURT
11                                                      EASTERN DISTRICT OF CALIFORNIA
12                                                                       FRESNO DIVISION
13
     JOSEPH CAMPOS,                        )                                          Case No. 1:08-CV-00001GSA
14                                         )
                           Plaintiff,      )                                          STIPULATION AND ORDER TO
15                                         )                                          CONTINUE EXPERT-
             vs.                           )                                          DISCOVERY DEADLINES
16                                         )
     CITY OF MERCED, MERCED POLICE OFFICER )
17   JEFFREY HORN, and DOES 1 through 50,  )
     inclusive,                            )
18                                         )
                           Defendants.     )
19                                         )
20               The parties to the above-captioned action, through their respective counsel, hereby stipulate as
21   set forth below and respectfully request that the Court enter an order pursuant to their stipulation:
22               1.          That the deadline for expert disclosure be continued from November 16, 2009, to
23   November 30, 2009;
24               2.          That the deadline for supplemental disclosure be continued from November 30, 2009, to
25   December 14, 2009;
26   ///
27   ///
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                                  STIPULATION AND [PROPOSED] ORDER TO CONTINUE EXPERT-DISCOVERY DEADLINES
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                      Case 1:08-cv-00001-GSA Document 37 Filed 11/18/09 Page 2 of 3


 1               3.          That the deadline for conducting expert discovery be continued from December 31, 2009,
 2   to January 14, 2010;
 3               4.          That the deadline for non-dispositive motions be continued from January 8, 2010, to
 4   January 22, 2010.
 5               Good cause for the requested continuance exists because:
 6               1.          Eric P. Escamilla, Esq., counsel for plaintiff Joseph Campos, only associated in as
 7   plaintiff’s counsel on October 16, 2009, following the suspension of plaintiff’s prior counsel by the State
 8   Bar, and thus requires additional time to become familiar with the issues in the present matter before
 9   conducting expert discovery;
10               2.          The parties do not request a continuance of the dispositive-motion, pretrial-conference or
11   trial dates, and do not anticipate that the continuance requested herein will affect their ability to prepare
12   for trial under the present schedule.
13               SO STIPULATED.
14
15               Dated: November 16, 2009.
16                                                                         LOW, BALL & LYNCH
17
18                                                                       By s/ Dirk D. Larsen
                                                                           DALE L. ALLEN, JR.
19                                                                         DIRK D. LARSEN
                                                                           Attorneys for Defendants
20                                                                         CITY OF MERCED and
                                                                           MERCED POLICE OFFICER JEFFREY HORN
21
22               Dated: November 16, 2009.
23                                                                         LAW OFFICE OF ERIC P. ESCAMILLA
24
25                                                                       By /s/ Eric P. Escamilla
                                                                           ERIC P. ESCAMILLA
26                                                                         Attorneys for Plaintiff
                                                                           JOSEPH CAMPOS
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                                  STIPULATION AND [PROPOSED] ORDER TO CONTINUE EXPERT-DISCOVERY DEADLINES
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                                                                                                            0001-LJO -G SA
                      Case 1:08-cv-00001-GSA Document 37 Filed 11/18/09 Page 3 of 3


 1                                                                       ORDER
 2               Pursuant to the stipulation of the parties herein, and good cause appearing therefore, the Court
 3   HEREBY ORDERS:
 4               1.          That the deadline for expert disclosure be continued from November 16, 2009, to
 5   November 30, 2009;
 6               2.          That the deadline for supplemental disclosure be continued from November 30, 2009, to
 7   December 14, 2009;
 8               3.          That the deadline for conducting expert discovery be continued from December 31, 2009,
 9   to January 14, 2010;
10               4.          That the deadline for non-dispositive motions be continued from January 8, 2010, to
11   January 22, 2010.
12
13               IT IS SO ORDERED.
14   Dated:            November 18, 2009                                     /s/ Gary S. Austin
     6i0kij                                                                UNITED STATES MAGISTRATE JUDGE
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                                  STIPULATION AND [PROPOSED] ORDER TO CONTINUE EXPERT-DISCOVERY DEADLINES
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                                                                                                            0001-LJO -G SA
